          Case 21-22080-GLT                       Doc 1      Filed 09/21/21 Entered 09/21/21 18:09:13                              Desc Main
                                                             Document     Page 1 of 17
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Western
 ____________________              Pennsylvania
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Rockdale Marcellus, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used               N/A
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 2 – ___
                                                       2 ___
                                                          0 ___
                                                             7 ___
                                                                8 ___
                                                                   7 ___
                                                                      6 ___
                                                                         7
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                               4600 J. Barry Ct., Suite 220
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                  _________________________________                        _______________________________________________
                                                                                                           P.O. Box

                                               Canonsburg               PA         15317
                                              ______________________________________________               _______________________________________________
                                              City                       State     ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                               Washington County
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                    N/A
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
          Case 21-22080-GLT                Doc 1        Filed 09/21/21 Entered 09/21/21 18:09:13                               Desc Main
                                                        Document     Page 2 of 17
Debtor         Rockdale Marcellus, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2 ___
                                             ___ 1 ___
                                                    1 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
            Case 21-22080-GLT              Doc 1       Filed 09/21/21 Entered 09/21/21 18:09:13                                 Desc Main
                                                       Document     Page 3 of 17
Debtor           Rockdale Marcellus, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.            Rockdale Marcellus Holdings, LLC
                                                    Debtor _____________________________________________                Affiliate
                                                                                                         Relationship _________________________
       affiliate of the debtor?                               Western District of Pennsylvania
                                                    District _____________________________________________ When                 9/21/21
                                                                                                                              _____ _____________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
           Case 21-22080-GLT                 Doc 1        Filed 09/21/21 Entered 09/21/21 18:09:13                                 Desc Main
                                                          Document     Page 4 of 17
Debtor         Rockdale Marcellus, LLC
              _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                                1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                               5,001-10,000                               50,001-100,000
       creditors
                                          100-199                             10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on 09/21/2021
                                                           _________________
                                                           MM / DD / YYYY


                                               /s/ John C. DiDonato
                                              _____________________________________________
                                                                                                             John C. DiDonato
                                                                                                           _______________________________________________
                                              Signature of authorized representative of debtor             Printed name


                                              Title   Chief Restructuring Officer




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
           Case 21-22080-GLT             Doc 1       Filed 09/21/21 Entered 09/21/21 18:09:13                                Desc Main
                                                     Document     Page 5 of 17
Debtor         Rockdale Marcellus, LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Luke A. Sizemore
                                            _____________________________________________            Date
                                                                                                                 09/21/2021
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Luke A. Sizemore
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Reed Smith LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                            225 Fifth Avenue, Suite 1200
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Pittsburgh
                                           ____________________________________________________             PA
                                                                                                           ____________   15222
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            412-288-3131
                                           ____________________________________                              lsizemore@reedsmith.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            306443
                                           ______________________________________________________   PA
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
Case 21-22080-GLT   Doc 1   Filed 09/21/21 Entered 09/21/21 18:09:13   Desc Main
                            Document     Page 6 of 17




            21st        September
Case 21-22080-GLT   Doc 1   Filed 09/21/21 Entered 09/21/21 18:09:13   Desc Main
                            Document     Page 7 of 17



                                  EXHIBIT A

                                   Resolutions

                                   (Attached)
Case 21-22080-GLT         Doc 1   Filed 09/21/21 Entered 09/21/21 18:09:13               Desc Main
                                  Document     Page 8 of 17



                                 RESOLUTIONS
                                      OF
                            THE BOARD OF MANAGERS
                                      OF
                       ROCKDALE MARCELLUS HOLDINGS, LLC

                                     September 20 - 21, 2021

         The managers of the board of managers (each individually, a “Manager” and
 collectively, the “Board”) of Rockdale Marcellus Holdings, LLC, a Texas limited liability
 company (“Parent”), acting on behalf of Parent individually and in Parent’s capacity as the
 sole manager of Rockdale Marcellus, LLC, a Texas limited liability company (“Opco”, and
 together with Parent, the “Companies”), hereby take the following actions and consent to,
 adopt, and agree to the following resolutions:

                                          RECITALS

        WHEREAS, the Companies are indebted under (1) a senior secured credit facility dated
 July 18, 2018, as amended, by and among Parent, Opco, Delaware Trust Company, as
 administrative agent, and the lenders from time to time party thereto, as amended; and (2) a
 term loan agreement dated July 18, 2018, as amended, by and among Parent, Opco, White Oak
 Global Advisors, LLC, as administrative agent, and the lenders from time to time party thereto;

         WHEREAS, the Board has considered one or more transactions to reorganize or
 restructure the indebtedness and capital structure of the Companies, including, among other
 things, through (i) seeking relief under chapter 11 of title 11 of the United States Code (the
 “Bankruptcy Code”), (ii) an out-of-court restructuring of the Companies’ indebtedness, (iii) an
 asset or equity sale to improve liquidity or facilitate a restructuring, (iv) other similar
 transactions, or (v) a combination thereof.

        WHEREAS, the Board has received, reviewed and considered the recommendations
 of advisors, as well as the relative risks and benefits of filing a petition seeking relief for the
 Companies under chapter 11 of the Bankruptcy Code;

        WHEREAS, Section 8.1 of the Amended and Restated Operating Agreement of Parent
 dated July 18, 2018 (the “Operating Agreement”) provides that the Board may authorize or
 declare a voluntary bankruptcy on behalf of the Parent with the consent of a Majority of the
 Members (including the consent of the Preferred Member(s) holding a majority of the Preferred
 Units and the consent of the Preferred Member(s) holding a majority of the Preferred A Units)
 (the “Requisite Members”), which consent shall not be unreasonably withheld, denied or
 conditioned;

        WHEREAS, the Board understands that, as of the date hereof, the Requisite Members
 have not consented to the filing of the petition as authorized hereby; and

        WHEREAS, the Companies and the Board have determined that the consent of the
 Requisite Members has been unreasonably withheld, denied, and/or conditioned; and
Case 21-22080-GLT         Doc 1    Filed 09/21/21 Entered 09/21/21 18:09:13               Desc Main
                                   Document     Page 9 of 17



         WHEREAS, Parent is the sole member and Manager of Opco as set forth in Section
 3.1 of the Amended and Restated Limited Liability Company Agreement of Opco dated July
 18, 2018, and has the sole authority to manage the affairs of Opco.

Chapter 11 Petition

         NOW BE IT RESOLVED, that, in the judgment of the Board, it is desirable and in the
 best interests of the Companies, their creditors, their members, and other interested parties for
 the Companies to file a petition in the United States Bankruptcy Court for the Western District
 of Pennsylvania (the “Bankruptcy Court”) seeking relief under chapter 11 of the Bankruptcy
 Code and the filing of such petition is authorized hereby; and it is further

        RESOLVED, that, subject to the conditions set forth herein, the Board is hereby
 authorized, on behalf of Parent individually and in Parent’s capacity as the sole manager of
 Opco, to file a petition in the Bankruptcy Court seeking relief under chapter 11 of the
 Bankruptcy Code; and it is further

         RESOLVED, that any Manager or duly appointed officer or vice president, including
 for avoidance of doubt, John DiDonato in his capacity as Chief Restructuring Officer of the
 Companies (the “Authorized Persons”), are hereby authorized, empowered, and directed, on
 behalf of the Companies, to execute and verify a petition in the names of the Companies under
 chapter 11 of the Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court
 in such form and at such time as such Authorized Person executing said petition on behalf of
 the Companies shall determine; and it is further

         RESOLVED, that each of the Authorized Persons hereby is authorized, empowered,
 and directed, on behalf of and in the name of the Companies, to execute, verify, and file, or
 cause to be filed, executed, or verified, all necessary documents, including all petitions,
 affidavits, schedules, motions, lists, applications, pleadings, and other papers, and in that regard
 to employ and retain such assistance of legal and financial advisors and other professionals and
 to take any and all action that they deem necessary, proper, or desirable in connection with the
 chapter 11 case; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by any of the
 Authorized Persons to seek relief on behalf of the Companies under chapter 11 of the
 Bankruptcy Code or in connection with the chapter 11 case or any matter related thereto be,
 and they hereby are, adopted, ratified, confirmed, and approved in all respects as the acts and
 deeds of the Companies; and it is further

        RESOLVED, that the foregoing resolutions consenting to the filing of the petition as
 authorized hereby are expressly subject to and conditioned upon the failure by the Companies
 to have obtained fully executed, enforceable extensions of any applicable forbearance
 agreement within three (3) hours prior to the expiration thereof; and it is further

Retention of Professionals

         RESOLVED, that each of the Authorized Persons is authorized, empowered, and
 directed, on behalf of and in the name of the Companies, to retain the law firm of Reed Smith
Case 21-22080-GLT        Doc 1     Filed 09/21/21 Entered 09/21/21 18:09:13              Desc Main
                                  Document      Page 10 of 17



 LLP (“Reed Smith”) to render legal services to the Companies in connection with the chapter
 11 case and any other related matters or proceedings in connection therewith on such terms as
 such Authorized Person shall approve; and it is further

         RESOLVED, that each of the Authorized Persons is authorized, empowered, and
 directed, on behalf of and in the name of the Companies, to retain the restructuring advisory
 firm of Huron Consulting Services LLC, including John DiDonato as the Companies’ Chief
 Restructuring Officer, to represent and assist the Companies in carrying out its duties under the
 Bankruptcy Code and to advance the Companies’ rights and obligations in connection with the
 chapter 11 case and any other related matters or proceedings in connection therewith on such
 terms as such Authorized Person shall approve; and it is further

         RESOLVED, that each of the Authorized Persons is authorized, empowered, and
 directed, on behalf of and in the name of the Companies, to retain the investment banking and
 strategic advisory firm of Houlihan Lokey Capital, Inc. (“Houlihan”) to render investment
 banking services to the Companies in connection with the chapter 11 case and any other related
 matters or proceedings in connection therewith on such terms as such Authorized Person shall
 approve; and it is further

Debtor-in-Possession Financing

      RESOLVED, that the Board hereby authorizes the Companies to obtain a senior secured
 super-priority debtor-in-possession line of credit with a maximum amount of $20,000,000 in
 new money on such terms and conditions as may be satisfactory to the Chief Restructuring
 Officer of the Companies in his sole discretion after consultation with Reed Smith and
 Houlihan; and it is further

       RESOLVED, that each of the Authorized Persons is authorized, empowered, and
 directed, on behalf of and in the name of the Companies, to execute and deliver a debtor-in-
 possession credit agreement and any other loan documents accompanying such credit
 agreement (collectively, the “DIP Credit Documents”) in form and substance satisfactory to
 the Chief Restructuring Officer of the Companies in his sole discretion after consultation with
 Reed Smith and Houlihan; and it is further

       RESOLVED, that each of the Authorized Persons is authorized, empowered, and
 directed, on behalf of and in the name of the Companies, to borrow and repay in the future
 under the DIP Credit Documents, to generally administer borrowing under and in compliance
 with the DIP Credit Documents, and to take such further actions as the Chief Restructuring
 Officer of the Companies may deem necessary, appropriate, or advisable in connection
 therewith; and it is further

       RESOLVED, that each of the Authorized Persons is authorized, empowered, and
 directed, on behalf of and in the name of the Companies, to prepare, execute, and deliver such
 documents, including, without limitation, each of the DIP Credit Documents, and to take such
 other action as the Chief Restructuring Officer of the Companies may deem necessary,
 appropriate, or advisable to carry out the purposes of the foregoing resolutions; and it is further
Case 21-22080-GLT        Doc 1    Filed 09/21/21 Entered 09/21/21 18:09:13            Desc Main
                                 Document      Page 11 of 17



General

         RESOLVED, that each of the Authorized Persons hereby is authorized, empowered
 and directed, on behalf of and in the name of the Companies, to pay all necessary and reasonable
 fees and expenses incurred in connection with the transactions contemplated by these
 resolutions; and it is further

         RESOLVED, that in addition to the specific authorizations heretofore conferred, each
 of the Authorized Persons hereby is, authorized, empowered and directed to take or cause to be
 taken all such further actions, to execute and deliver or cause to be executed and delivered all
 such further certificates, agreements, instruments and documents and to incur all such fees and
 expenses, on behalf of and in the name of the Companies, as in his or her judgment shall be
 necessary, appropriate or advisable in order to carry out fully the intent and purposes of the
 foregoing resolutions and each of them; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by any of the
 Authorized Persons prior to adoption of these resolutions with respect to the matters
 contemplated by these resolutions be, and hereby are, adopted, ratified, confirmed and
 approved in all respects as the acts and deeds of the Companies; and it is further

          RESOLVED, that these resolutions be filed in the books and records of the Companies.
Case 21-22080-GLT               Doc 1     Filed 09/21/21 Entered 09/21/21 18:09:13                      Desc Main
                                         Document      Page 12 of 17



                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE:                                                     Chapter 11

    ROCKDALE MARCELLUS, LLC,                                   Case No. 21-

                               Debtor.1                        Document No.


                               CORPORATE OWNERSHIP STATEMENT

                   Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, and Local Rule 7.1.1 of the United States District Court for the Western District of

Pennsylvania, and to enable Judges to evaluate possible disqualification or recusal, the following

individuals and/or entities directly or indirectly owns 10% or more of any class of the above-

captioned Debtor’s equity interests:

                         Shareholder                               Approx. Percentage of Shares Held

           Rockdale Marcellus Holdings, LLC                                           100%




1
    The last four digits of the Debtor’s taxpayer identification number are 8767. The Debtor's address is 4600 J. Barry
Ct., Suite 220, Canonsburg, PA 15317
Case 21-22080-GLT              Doc 1     Filed 09/21/21 Entered 09/21/21 18:09:13                      Desc Main
                                        Document      Page 13 of 17



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                                      Chapter 11

 ROCKDALE MARCELLUS, LLC,                                    Case No. 21-

                             Debtor.1                        Document No.


                               LIST OF EQUITY SECURITY HOLDERS

                  Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure,

Rockdale Marcellus, LLC, a debtor and debtor-in-possession in the above-captioned chapter 11

case, hereby provides the following list of holders of equity interests:


                    Name and last known address or place
                                                                              Percentage
                           of business of holder


                     Rockdale Marcellus Holdings, LLC
                      945 Bunker Hill Rd., Suite 950,                            100%
                          Houston, Texas 77024




1
    The last four digits of the Debtor’s taxpayer identification number are 8767. The Debtor's address is 4600 J. Barry
Ct., Suite 220, Canonsburg, PA 15317
                Case 21-22080-GLT                      Doc 1    Filed 09/21/21 Entered 09/21/21 18:09:13                                  Desc Main
                                                               Document      Page 14 of 17

      Fill in this information to Identify the case:

      Debtor Name: Rockdale Marcellus, LLC
                                                                                                                                        Check if this is an
      United States Bankruptcy Court for the:      Western District of Pennsylvania
                                                                                                                                        amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                   12/15
  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
  disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
  secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
  largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                         professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                         services, and         or disputed     setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                               Total claim, if       Deduction          Unsecured
                                                                                                               partially secured     for value of       claim
                                                                                                                                     collateral or
                                                                                                                                     setoff

  1       WHITE OAK GLOBAL ADVISORS           CONTACT: CRAIG FULLER  LOAN                                          $50,542,962.04                          $50,542,962.04
          3 EMBARCADERO CTR, 5TH FLOOR        PHONE: 415-644-4149
          SAN FRANCISCO, CA 94111             CFULLER@WHITEOAKSF.COM


  2       AQUA - ETC WATER SOLUTIONS, LLC     CONTACT: MABEL ZEE     TRADE DEBT                                                                              $2,041,666.62
          8020 PARK LANE, SUITE 200           PHONE: 214-469-1681
          DALLAS, TX 75321                    MABEL.ZEE@ENERGYTRANSF
                                              ER.COM
  3       PROFRAC SERVICES, LLC               CONTACT: JENNIFER LAKE     TRADE DEBT                                                                          $1,285,380.97
          777 MAIN STREET, SUITE 3900         PHONE: 817-212-3328
          FORT WORTH, TX 76102                JENNIFER.LAKE@PROFRAC.C
                                              OM
  4       CHEMSTREAM INC.                     CONTACT: MARYANN KOBAL     TRADE DEBT                                                                            $465,020.83
          511 RAILROAD AVE                    PHONE: 724-915-8388
          HOMER CITY, PA 15748                MARYANN.KOBAL@CHEMST
                                              REAM.COM
  5       CUDD PRESSURE CONTROL, INC          CONTACT: TERRY THOMAS TRADE DEBT                                                                                 $244,250.50
          2828 TECHNOLOGY FOREST BLVD.        PHONE: 205-414-8100
          HOUSTON, TX 77032                   TTHOMAS3717@CUDD.COM


  6       CHESAPEAKE OPERATING, LLC           PHONE: 877-245-1427        TRADE DEBT                                                                            $201,415.00
          6100 N WESTERN AVE                  CONTACT@CHK.COM
          OKLAHOMA CITY​, OK 73118-1044
  7       ALLY CONSULTING, LLC                CONTACT: PAULA WREN        TRADE DEBT                                                                            $152,897.00
          445 UNION BLVD, STE 208             PHONE: 720-619-4826
          LAKEWOOD, CO 80228                  ACCOUNTING@ALLYENERGY
                                              SERVICES.COM




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         Page 1
              Case 21-22080-GLT                  Doc 1     Filed 09/21/21 Entered 09/21/21 18:09:13 Desc Main
  Debtor: Rockdale Marcellus, LLC                         Document      Page 15 of 17Number (if known): 21-xxxx1
                                                                                Case
   Name of creditor and complete mailing    Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code              and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  8     EXPRESS ENERGY SERVICES             CONTACT: KATHRINE M.      LITIGATION CLAIM      CUD                                                             $135,000.00
        OPERATING, L.P.                     SILVER, HARRIS J.
        C/O JACKSON WALKER LLP              HUGUENARD
        1401 MCKINNEY STREET, SUITE 1900    PHONE: 713-752-4340
        HOUSTON, TX 77010                   KSILVER@JW.COM;
                                            HHUGUENARD@JW.COM
  9     PEAK OILFIELD SERVICES              PHONE: 940-668-1818       TRADE DEBT                                                                            $129,961.63
        1820 I-35 FRONTAGE RD
        GAINESVILLE, TX 76240
  10    MOORE TRUCKING LLC                  CONTACT: JESSICA MOORE    TRADE DEBT                                                                            $120,279.21
        2784 ROUTE 414                      PHONE: 570-916-8870
        CANTON, PA 17724                    MOORETRUCKING08@YAHO
                                            O.COM
  11    UMB BANK N.A.                       CONTACT: CHRIS FRANTZ     TRADE DEBT                                                                            $106,437.50
        1010 GRAND BOULEVARD                (EUREKA RESOURCES)
        KANSAS CITY, MO 64106               PHONE: 570-323-2535
                                            C.FRANTZ@EUREKA-
                                            RESOURCES.COM
  12    VESTAL ASPHALT                      CONTACT: JIM UNKEL        TRADE DEBT                                                                             $82,476.30
        201 STAGE ROAD                      PHONE: 607-785-3393
        VESTAL, NY 13850
  13    ZIEGENFUSS DRILLING, INC.           CONTACT: ALLISON TRIPUS  TRADE DEBT                                                                              $80,875.00
        2 FRONTAGE ROAD                     PHONE: 908-788-5100
        RINGOES, NJ 08551                   ALLISON@ZIEGENFUSSDRILLI
                                            NG.COM
  14    RWLS, LLC                           CONTACT: PATRICIA         TRADE DEBT                                                                             $78,720.00
        DBA RENEGADE SERVICES               BREEDEN
        1937 WEST AVE                       PHONE: 361-526-7039
        LEVELLAND, TX 79336                 PBREEDEN@RENEGADEWLS.
                                            COM
  15    DELJANOVAN TRUCKING LLC             CONTACT: DIANE        TRADE DEBT                                                                                 $76,189.75
        259 MCCRACKEN ROAD                  DELJANOVAN
        ROARING BRANCH, PA 17765            PHONE: 570-337-5513
                                            DDELJANOVAN@DELJANOVA
                                            NTRUCKING.COM
  16    PELOTON COMPUTER ENTERPRISES        CONTACT: CLAUDIA          TRADE DEBT                                                                             $69,528.16
        23501 CINCO RANCH BLVD, SUITE       OQUENDO
        C220                                PHONE: 832-420-9974
        KATY, TX 77949                      CLAUDIA.OQUENDO@PELOT
                                            ON.COM
  17    SWN PRODUCTION COMPANY, LLC         CONTACT: MICHAEL BISHOP TRADE DEBT                                                                               $75,305.48
        10000 ENERGY DRIVE                  PHONE: 866-322-0801
        SPRING, TX 77389-4954               MICHAELBISHOP@SWN.COM


  18    SPEYSIDE PARTNERS                   CONTACT: STEVE PULLY     TRADE DEBT                                                                              $60,000.00
        1910 PACIFIC AVE., SUITE 14183      PHONE: 214-587-6133
        DALLAS, TX 75201                    SPULLY@SPEYSIDEPARTNERS.
                                            COM
  19    SOUTHEAST LAND SERVICES, LLC        CONTACT: ERIC JENEVEIN    TRADE DEBT                                                                             $51,888.23
        1200 LAKE HAVEN DRIVE               PHONE: 985-320-4116
        LITTLE ELM, TX 75068                ERIC@SOUTHEASTLAND.NET




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      Page 2
              Case 21-22080-GLT                Doc 1      Filed 09/21/21 Entered 09/21/21 18:09:13 Desc Main
  Debtor: Rockdale Marcellus, LLC                        Document      Page 16 of 17Number (if known): 21-xxxx1
                                                                               Case
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  20    MCGUIREWOODS LLP                   CONTACT: GREG KROCK  TRADE DEBT                                                                                  $43,455.00
        800 E CANAL STREET                 PHONE: 412-667-6042
        RICHMOND, VA 23219-3916            GKROCK@MCGUIREWOODS.
                                           COM




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        Page 3
           Case 21-22080-GLT                     Doc 1      Filed 09/21/21 Entered 09/21/21 18:09:13                            Desc Main
                                                           Document      Page 17 of 17
 Fill in this information to identify the case and this filing:


 Debtor Name    Rockdale Marcellus, LLC
 United States Bankruptcy Court for the:   Western District of Pennsylvania

 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                                   Corporate Ownership Statement, List of Equity Security Holders
            Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on        09/21/2021                               /s/ John C. DiDonato
                           MM / DD / YYYY                         Signature of individual signing on behalf of debtor



                                                                    John C. DiDonato
                                                                  Printed name

                                                                  Chief Restructuring Officer
                                                                Position or relationship to debtor



Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
